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                             UNITED STATES DISTRICT COURT

                         SOUTHERN DISTRICT OF CALIFORNIA



                       ARREST ON OUT-OF-DISTRICT OFFENSE

                                                                     CASE NUMBER:


        The person charged as Richard Paul Nery now appears before this United States District Court for an

initial appearance as a result of the matter having been filed in the United States District Court for the Central

District of California with: Failure to Appear for a Supervised Release Violation hearing; Title 18 USC

Section(s) 3146

        The charging documents and warrant for the arrest of the defendant which was issued by the above

United States District Court are attached hereto.

        I hereby swear under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief.


DATED: 08/29/2022
                                                                       _ ~______ (signature)
                                                                --+-t-_o
                                                              -+(Jt2
                                                              _Ph_i_li.,._p_O~'_T_o_ol_e_ _ _ _ _ _ _ _ _ (print)
                                                              Deputy United States Marshal

Reviewed and Approved




Assis
             Case 3:22-mj-03143-AGS Document 1 Filed 08/29/22 PageID.2 Page 2 of 6
                                                                                  RECEIVED
                                                                                  USMS-C/CA-LA
                                                   UNITED STATES DISTRICT COURT 23JUNE2022
                                                  CENTRAL DISTRICT OF CALIFORNIA FID #8800671
   .                                                                 CASE NUMBER: REG #01466-198

UNITED STATES OF AMERICA
                                                                                                                                     LA CRl?-00141 JAK
                                                                                    Plaintiff(s)
                                                V.
RICHARD PAUL NERY,

                                                                                                                       WARRANT FOR ARREST
                                                                                Defendant(s).


TO:
  I
             UNITED STATES MARSHAL AND ANY AUTHORIZED UNITED STA TES OFFICER

YOU ARE HEREBY COMMANDED to arrest _R_ic_ha_r_d_Pa_u_l_N_ery....!........_ _ _ _ _ _ _ _ _ _ _ _ __
and bring him/her forthwith to the nearest Magistrate Judge to answer a(n): D Complaint                                                                  D Indictment
D Information ~ Order of Court D Violation Petition D Violation Notice
charging him/her with 1Er--TERnEScR1 PT1 0No 1,omNsEouow 1
Failure to appear.




in violation of Title 18             United States Code, Section(s)                                                            3l 4 6.
Supervised Release Violation: 18 U.S.C. §3583.
                                                                                                                               -------- ------
  Kiry K. Gray
  N,l:~ IE 0 1' ISSU ING OFFICER



  Clerk of Court                                                                                                 June 22, 2022 at Los Angeles, California
                                                                        ---
  TliLE OF ISSU ING OfflCER                                                                                      UA TE ANll LOCATION OF ISSUANCE

                                                                                                                                                   CJ~ V\.-
    /.~~-✓~                                                                                                   lly)ohn A. Kronstadt, U.S. District Judge
  SIGNA~ T Y C LERK                                                                                              NA~lf. OF JUUIC IAL Ol'HCE!l

  T. ackson-Terrell
                                                                                          RETURN

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llATE RECEIVED                                                                                                NAME OF ARRESTING OFF ICER

       I
DATE OF ARRE.<;T                                                                                              TITLE




DESC RIPTIV E INFO RM ATION FO R DEFENDANT
CONTA l:0- EO ON PAGE TWO                                                                                     SIGNATURE OF ARREST ING Ol'FICER




G-04       ( 10/15)                                                           WARRANT FOR ARREST                                                            Page I of2
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                                        UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRIC OF CALIFORNIA
                                                                                   CASE NUMBER:

UNITED ST ATES OF AMERICA
                                                                 Plaintiff(s)                                      LA CRl 7-00141 JAK
                                 V.
RICHARD PAUL NERY,

                                                                                                       WARRANT FOR ARREST
                                                              Defendant(s)


                                      ADDITIONAL DEFENDANT INFORMATION
RACE:                   SL\'.:                          \VEIGIIT:             HAiite              EYES:             OTHER:




D.-\TE 01' BIRTH:                 l'L.\CE 01' BIRTH:                          SOCIAL SECURITY 1':0.:                 IJRIVEU'S LICENSE NO.:   ISSUl!':G STATE:




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l'UI NU~IUER:



ADOITtOr-.:AL INFOR.\1.-\TION:




 INVESTI GATIVE AGENCY NA~tE                                                  INVl'..'iTIGATIVf. AGENCY ADDRESS:




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PROB 12
(Rev. 11/04)

                               United States District Court                                     03/31/2022
                                                    for
                                      CENTRAL DISTRICT OF CALIFORNIA                                  TJ




U.S.A. VS. Richard Paul Nery                                            Docket No.: 2:17-CR-00141-JAK-1

                          Petition on Probation and Supervised Release (Citation)

       COMES NOW NATASHA ALEXANDER-MINGO , CHIEF PROBATION & PRETRIAL SERVICES
OFFICER OF THE COURT, presenting an official report upon the conduct and attitude of Richard Paul Nery
who was placed on supervision by the Honorable JOHN A. KRONSTADT sitting in the Court at Los Angeles,
California, on the 23rd day of July, 2020 who fixed the period of supervision at 24 Months, and imposed the
general terms and conditions theretofore adopted by the Court and also imposed special terms and conditions as
noted on the attached Judgment and Commitment Order(s). The original term of supervision imposed in this
case on November 20, 2014, was revoked on July 23, 2020.




RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

                                              (SEE ATTACHED)



PRAYING THAT THE COURT WILL ORDER Richard Paul Nery, 335 Junipero Avenue, Long Beach,
California, 90814, cited into Court on April 7, 2022 at 8:30 am, to show cause why the supervision order,
heretofore entered, should not be revoked. The precise time of the hearing may change upon the issuance of the
final calendar for that date. The hearing will proceed in-person at the First Street Courthouse, Courtroom 10B.




                 ORDER OF COURT                              I declare under penalty of perjury that the foregoing
                                                             and/or attached is true and correct to the best of my
Considered and ordered this 31     day of March , 2022       knowledge.
and ordered filed and made a part of the records in the
above case.                                                  Executed on March 28, 2022


                                                             /S/ KRISTEN RZONCA
              United States District Judge                   U. S. Probation & Pretrial Services Officer
          HONORABLE JOHN A. KRONSTADT                        Place: Inglewood, California
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   Docket No 2:17-CR-00141-JAK-1

   RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR
   CAUSE AS FOLLOWS:

   It is alleged that the above-named supervisee has violated the terms and conditions to wit:

1. Having been ordered by the Court not to commit another Federal, state or local crime, on or about
   March 21, 2022, Richard Paul Nery committed the offense of transportation of a controlled
   substance with the intent to sell, in violation of Section 11352(a) of the California Health Safety
   Code.

2. Having been ordered by the Court not to commit another Federal, state or local crime, on or about
   February 19, 2022, Richard Paul Nery committed the offense of fraud, in violation of Section
   530.5 of the California Penal Code.

3. Having been ordered by the Court not to commit another Federal, state or local crime, on or about
   June 22, 2021, Richard Paul Nery possessed a controlled substance with intent to sell, in violation
   of Section 11378 of the California Health and Safety Code.

4. Having been ordered by the Court not to commit another Federal, state or local crime, on or about
   June 22, 2021, Richard Paul Nery committed the offense of sale or transport of a controlled
   substance, in violation of Section 11379 (a) of the California Health and Safety Code.

5. Having been ordered by the Court not to commit another Federal, state or local crime, on or about
   June 22, 2021, Richard Paul Nery possessed a controlled substance with intent to sell, in violation
   of Section 11351 of the California Health and Safety Code.

6. Having been ordered by the Court not to commit another Federal, state or local crime, on or about
   June 22, 2021, Richard Paul Nery possessed a controlled substance with intent to sell, in violation
   of Section 11352 (a) of the California Health and Safety Code.

7. Having been ordered by the Court not to commit another Federal, state or local crime, on or about
   June 22, 2021, Richard Paul Nery possessed a controlled substance paraphernalia, in violation of
   Section 11364 (a) of the California Health and Safety Code.




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U.S.A. VS Richard Paul Nery
Docket No 2:17-CR-00141-JAK-1

8. Having been ordered by the Court to participate in an outpatient substance abuse treatment, on
   March 7, 2022, Richard Paul Nery failed to report for an intake appointment at Detection and
   Treatment Resources Inc (DTR).

9. Having been ordered by the Court to participate in a residential substance abuse treatment
   center program, on January 12, 2022, Richard Nery was terminated from the Tarzana
   Treatment Center and failed to complete the program, due to violations of the program's rules
   and regulations.




                                            3
